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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY (CAMDEN)

Caption in Compliance with D.N.J. LBR 9004-1(b)
RAS Citron, LLC
Authorized Agent for Secured Creditor
130 Clinton Road, Lobby B, Suite 202
Fairfield, NJ 07004
Telephone: 973-575-0707
Facsimile: 973-404-8886

Harold N. Kaplan
                                                             Case No.:      19-15210-ABA
In Re:
Jill J Barbera                                               Chapter:         7
akaJill Barber
akaJill J. Sherako                                           Hearing Date: May 28, 2019
akaJill Jessica Sherako
akaJill Sherako,                                             Judge:       Andrew B. Altenburg Jr.
                 Debtor.




             NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY

                                  HEARING DATE AND TIME:
                                    May 28, 2019 at 10:00am

                   ORAL ARGUMENT IS REQUESTED IN THE EVENT
                          OPPOSITION IS TIMELY FILED
 TO:
  D ebtor(s)-                D ebtor’s A ttorney-   Tru stee-                U.S .Tru stee-
  Jill J Barbera             Mark S Cherry          Joseph Marchand          US Dept of Justice
  aka Jill Barber            Law Office of Mark     117-119 West Broad       One Newark Center
  aka Jill J. Sherako        S Cherry               St.                      Ste 2100
  aka Jill Jessica Sherako   385 Kings Highway      PO Box 298               Newark, NJ 07102
  aka Jill Sherako           North                  Bridgeton, NJ 08302
  3704 Elberta Ln            Cherry Hill, NJ
  Marlton, NJ 08053-         08034
  1349




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         PLEASE TAKE NOTICE that on May 28, 2019, at 10:00a.m., or as soon thereafter as

 counsel may be heard, RAS Citron, LLC, attorneys for Nationstar Mortgage LLC d/b/a Mr.

 Cooper, the within creditor ("Creditor"), shall move before the Honorable Judge Andrew B.

 Altenburg Jr., United States Bankruptcy Judge, at Mitchell H. Cohen U.S. Courthouse 400 Cooper

 Street, 4th Floor Camden, N.J. 08101 Courtroom 4B, for an Order pursuant to 11 U.S.C.

 §362(d)(1) granting such Creditor relief from automatic stay or, for costs and disbursements of

 this action, and for such other and further relief as to the Court may seem just and proper.

         PLEASE TAKE FURTHER NOTICE that in support of the Motion, the undersigned shall

 rely on the accompanying Certification in Support of Motion for Relief. A proposed form of Order

 is also being submitted. A Memorandum of Law has not been submitted because the issues raised

 by the Motion are not extraordinary or unusual necessitating the filing of legal briefs.

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in the

 Motion shall: (i) be in writing; (ii) specify with particularity the basis of the objection; and (iii) be

 filed with the CLERK, UNITED STATES BANKRUPTCY COURT, U.S. Post Office and

 Courthouse 401 Market Street Camden, NJ 08101, and simultaneously served on Secured

 Creditor's counsel, RAS Citron, LLC, 130 Clinton Road, Lobby B, Suite 202 Fairfield, NJ

 07004, so as to be received no later than seven (7) days before the return date set forth herein.

         PLEASE TAKE FURTHER NOTICE that unless objections are timely filed and served,

 the Motion shall be deemed uncontested in accordance with D.N.J. LBR 9013-1(a) and the relief

 requested may be granted without a hearing.

         PLEASE TAKE FURTHER NOTICE that counsel hereby requests oral argument in

 accordance with D.N.J. LBR 9013-1 (f) in the event opposition papers are timely filed.



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  DATED:5/1/2019
                                          RAS Citron, LLC
                                          130 Clinton Road, Lobby B, Suite 202
                                          Fairfield, NJ 07004
                                          Telephone: 973-575-0707
                                          Facsimile: 973-404-8886
                                          By: /s/ Harold N. Kaplan_____
                                          Harold N. Kaplan, Esquire
                                          Bar ID: HK0226
                                          Email: hkaplan@rasnj.com




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